









					

	




NUMBER 13-09-667-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


                                                                                                                      

											

ONE (1) 2002 JEEP, VIN# 1J4GK48K52W123230,		          Appellant,

	        

v. 


THE STATE OF TEXAS,			  		  		  Appellee.

                                                                                                                      


On appeal from the 117th District Court 

of Nueces  County, Texas.


                                                                                                                      


MEMORANDUM OPINION



Before Justices Rodriguez, Benavides, and Vela


Memorandum Opinion by Justice Vela



	Following a bench trial, the trial court found a 2002 Jeep (the vehicle) to be
contraband subject to forfeiture.  See Tex. Code. Crim. Proc. Ann. Art. 59.02 (Vernon 2006
&amp; Supp. 2009).  The trial court found that the driver, Thelma Castaneda, had an equitable
ownership interest in the vehicle, and forfeited the vehicle to the State.  By one issue,
appellant, Joe Castaneda, the vehicle's registered owner, challenges the legal and factual
sufficiency of the evidence to support the forfeiture.  We affirm.

I.  Factual Background.

	Appellant is the registered owner of the vehicle.  On January 22, 2009, Police
officers Robert Alvarado and David Blackman stopped the vehicle for a traffic violation in
Corpus Christi, Texas in connection with a narcotics stake out.  Officer Alvarado testified
that Thelma, the driver, claimed she did not have her driver's license or car insurance with
her.  Officer Blackman testified that, at the time of the stop, he could smell fresh marihuana
and his eyes began to water near the vehicle.  He stated that because of an allergy to
marihuana, his eyes water when he is near it.  At this point, the officers arrested Thelma
and the vehicle was impounded, subject to a search.  A subsequent search of the vehicle
revealed approximately eleven pounds of marihuana in a duffel bag.

	Officer Luis Rodriguez, the forfeiture investigator, testified that he looked into the
vehicle while it was in the impound lot.  He found the insurance card in the vehicle, which
listed both appellant and Thelma as named insureds.  Officer Rodriguez also saw and
photographed hair bands on the gear shift and in the cup holder area, similar to the hair
bands being worn by Thelma at trial.  He stated that not every interest holder in a vehicle
is a registered owner and that he had determined that Thelma was the primary user and
drove the car regularly.  When questioned further about the insurance card, Officer
Rodriguez stated that, based upon his experience, the name on the card is usually a driver. 
He further testified that being an insured person creates an interest in the vehicle for the
individuals listed, and it was his opinion that appellant and Thelma both had interests in the
vehicle.  

	Appellant is a city wastewater treatment employee and Thelma's ex-husband.  At
trial, appellant raised the "innocent owner" affirmative defense as allowed by the Texas
Code of Criminal Procedure.  See Tex. Code Crim. Proc. Ann. art. 59.02(c).  Appellant
testified that he purchased the vehicle alone and had placed Thelma on the insurance to
"mend fences" with his ex-wife and to allow her to take their grandchildren to the doctor as
needed.  Appellant also said that the hair bands in the vehicle belonged to his daughters
and granddaughters.  

	On cross examination, appellant testified that he is the registered owner of two other
vehicles in addition to the vehicle at issue.  The vehicles are available for family members
to borrow for short periods of time, provided they first ask appellant's permission. 
Appellant also stated that when other relatives borrowed a vehicle they were not
necessarily placed on the insurance.  He testified that Thelma had been on the insurance
for approximately six weeks before the stop.  However, appellant admitted that the
insurance card's effective dates were from September 13, 2008 through March 13, 2009. 
Appellant stated that on January 22, 2009, he searched for the vehicle but upon learning
Thelma had it, he did not report it as stolen.  Additionally, on cross examination, appellant
admitted that he had answered an interrogatory, under oath, which acknowledged Thelma
as an interest holder and user of the vehicle.  When further questioned about his response,
he responded that it was an oversight. 

	At trial, Thelma testified that she and appellant currently had no common-law
relationship.  She said that appellant has several vehicles that she is allowed to drive;
however, she did not contribute toward the purchase of any of them.  Thelma also testified
that on the morning of January 22, 2009, she took the keys and the vehicle from
appellant's residence.  When questioned about the vehicle, she stated that she had never
really driven the vehicle before but admitted that her name and appellant's name were on
the insurance card that was found inside the vehicle.  Thelma testified that, "[appellant] put
me on because my kids need me sometimes, but that doesn't mean I drive it."

	The trial court determined that regardless of appellant's innocent owner defense,
Thelma had an equitable ownership interest in the vehicle.  The court commented that it
found Thelma's testimony "hardly credible" and believed appellant's answer to the
interrogatory was truthful.  Thus, the vehicle was forfeited to the State.

II. Discussion

	By a single issue, appellant challenges the legal and factual sufficiency of the
evidence to support the trial court's decision.  In particular, he contends that the evidence
is insufficient to show that Thelma was an owner or interest holder of the vehicle.

A. Applicable Law

	A forfeiture proceeding under the code of criminal procedure is a civil proceeding. 
Tex. Code Crim. Proc. Ann. art. 59.05(a) (Vernon 2006); see also Five Hundred &amp; Eighty
Five Dollars in U.S. Currency v. State, No. 03-09-00012-CV, 2009 WL 2837716, at *1 (Tex.
App.-Austin Aug. 31, 2009, no pet.) (mem. op.).  In order for the State to prevail in a
forfeiture proceeding, it is required to prove, by a preponderance of the evidence, that the
property is contraband, and thus, subject to forfeiture to the State.  Forty Three Thousand
Seven Hundred &amp; Seventy Four Dollars in U.S. Currency v. State, 266 S.W.3d 178, 182
(Tex. App.-Texarkana 2008, pet. denied) (citations omitted).  "Contraband" is defined as
property of any nature used in the commission of certain felonies.  See Tex. Code Crim.
Proc. Ann. art. 59.01(2)(A)-(E) (Vernon 2006 &amp; Supp. 2009).  Article 59.01 also defines
"owner" as "a person who claims an equitable or legal ownership interest in the property"
and defines "interest holder" as "the bona fine holder of a perfected lien or perfected
security interest in property". Id. art. 59.01(4), (6).

	After the State satisfies its burden of proof, there is a statutory provision commonly
known as the "innocent owner" defense.  Forty Three Thousand Seven Hundred &amp; Seventy
Four Dollars in U.S. Currency, 266 S.W.3d at 182; see Tex. Code Crim. Proc. Ann. art.
59.02(c).  This prevents forfeiture if the claimant demonstrates, by a preponderance of the
evidence, that he acquired and perfected the interest prior to or during the act giving rise
to the forfeiture, and did not know or should not reasonably have known of the act giving
rise to the forfeiture or that it was likely to occur at or before the time of acquiring and
perfecting the interest.  Forty Three Thousand Seven Hundred and Seventy Four Dollars
in U.S. Currency, 266 S.W.3d at 182; see Tex. Code Crim. Proc. Ann. art 59.02 (c)(1). 

B. Standard of Review

	When legal and factual sufficiency challenges are raised on appeal, the applicable
standard of review is the same as that to be applied to a jury's findings or a trial court's
findings of fact.  Roberson v. Robinson, 768 S.W.2d 280, 281 (Tex. 1989); see also One
Thousand Five Hundred &amp; Ninety Five Dollars in U.S. Currency v. State, No. 02-05-00181-CV, 2005 WL 3436564, at *1 (Tex. App.-Forth Worth Dec. 15, 2005, no pet.) (mem. op.). 
When findings of fact and conclusions of law are neither filed nor requested, we must
presume that the trial court made all the necessary findings to support the judgment.  One
Hundred and Sixty Two Thousand Nine Hundred &amp; Fifty Dollars in U.S. Currency v. State,
911 S.W.2d 528, 529 (Tex. App.-Eastland 1995, writ denied).

	Under the applicable standards, evidence is legally insufficient when:  (1) there is
a complete absence of evidence of a vital fact; (2) the court is barred by rules of law or of
evidence from giving weight to the only evidence offered to prove a vital fact; (3) the
evidence offered to prove a vital fact is not more than a mere scintilla; or (4) the evidence
establishes conclusively the opposite of the vital fact.  City of Keller v. Wilson, 168 S.W.3d
802, 810 (Tex. 2005).  When considering factual sufficiency, we consider all of the
evidence, setting aside the verdict only if the evidence is so weak that it is clearly wrong
or manifestly unjust, or if the finding is so against the great weight and preponderance of
the evidence.  Cain v. Bain, 709 S.W.2d 175, 176 (Tex. 1986); see Forty Three Thousand
Seven Hundred &amp; Seventy Four Dollars in U.S. Currency, 266 S.W.3d at 183.

C. Analysis

	The State presented evidence that the vehicle was seized in Corpus Christi,  Texas,
on January 22, 2009, and a subsequent search of that vehicle revealed it to be contraband
subject to forfeiture.  Appellant contends that Thelma is not an owner or interest holder in
the vehicle; thus because he was an "innocent owner," the vehicle should not be forfeited
to the State.

	Contending that Thelma did not have an interest in the vehicle, appellant presented
evidence that:  (1) he currently owns three vehicles; (2) he is the registered owner of the
vehicle in question; (3) he allows family members to borrow the vehicles with his
permission for short periods of use; (4) he bought the vehicle entirely on his own; (5) he
and Thelma divorced in 1988; (6) he currently does not have a common-law relationship
with Thelma; (7) he added Thelma's name to the insurance to "mend fences," and for
emergencies only; (8) Thelma's name had been on the insurance for approximately six
weeks; (9) he was not aware that Thelma had the vehicle on January 22, 2009; (10) the
hair bands found in the vehicle belonged to his children and grandchildren; and (11) title
to a vehicle cannot be acquired solely by an insurance card.

	The State presented contrary evidence that:  (1) upon learning who had taken the
vehicle on January 22, 2009, appellant did not report the vehicle as stolen; (2) appellant
indicated in a sworn answer to an interrogatory that Thelma was a user of the vehicle; (3)
when appellant lends the vehicle to other family members, he does not add their names
to insurance; (4) the insurance card lists both Thelma and appellant as named insureds;
(5) the insurance card had an effective period from September 13, 2008 to March 13,
2009; (6) it was appellant's idea to add Thelma to the insurance; (7) having someone's
name listed as insured creates a financial interest in the vehicle for that individual; and(8)
the hair bands found in the vehicles were very similar to the hair bands worn by Thelma
at trial.  

	Additionally, the State presented evidence that there are instances where people
have an interest in the vehicle, yet are not listed as registered owners.  Under the forfeiture
statute, an "owner" is someone who claims an equitable or legal interest in property.  2004
Volkswagen Jetta v. State, 285 S.W.3d 507, 511 (Tex. App.-Dallas 2009 no pet.); see Tex.
Code Crim. Proc. Ann. art. 59.01(6).  In 2004 Volkswagen Jetta v. State, the court
affirmed the forfeiture of a vehicle reasoning that it is not necessary to show the driver to
be the sole owner, but rather that the driver is an owner.  2004 Volkswagen Jetta, 285
S.W.3d at 511.  There, the vehicle was purchased by and registered in the name of Lori
Jamison, yet her son Scott was found to be the primary driver, and an equitable interest
holder in the vehicle.  Id. at 509, 511.  A similar result was obtained in Arnold v. State,
where the court held it was reasonable to infer that two or more people may be owners of
a vehicle and that one of them would be the sole equitable owner.  793 S.W.2d 305, 308
(Tex. App.-Austin 1990, no writ).

	Although the facts here differ slightly from those in 2004 Volkswagen and Arnold,
common to all these cases is the fact that the vehicle had both legal and equitable owners. 
Here, the trial court determined that Thelma had an equitable ownership interest in the
vehicle based upon the insurance card  and appellant's responses to the interrogatories. 
As stated above, we will presume that the trial court made all the necessary findings to
support the judgment. See One Hundred and Sixty Two Thousand Nine Hundred &amp; Fifty
Dollars in U.S. Currency, 911 S.W.2d at 529.  Thus, we conclude that the evidence is
legally and factually sufficient.  There is evidence supporting the trial court's judgment, and
the court's judgment is not so weak that it is clearly wrong or manifestly unjust or against
the preponderance of the evidence.  Appellant's sole issue is overruled.

III. Conclusion

	We affirm the trial court's judgment.

		


 							ROSE VELA

							Justice


Delivered and filed the 8th

day of July, 2010.


								


